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                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT
                   1100 East Main Street, Suite 501
                    Richmond, Virginia 23219-3517
                         www.ca4.uscourts.gov

                           October 16, 2008

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No. 07-4115, US v. LaVon Dobie
             8:04-cr-00235-RWT

Dear Counsel and Tracy Dunlap,

     The deadline for filing all transcripts ordered from Tracy
Dunlap has been updated to 11/10/08.


                                 Sincerely,

                                 Sharon A. Wiley
                                 Deputy Clerk
